                                                                                                              Case 23-15302-abl        Doc 38    Entered 03/26/24 13:10:36      Page 1 of 6



                                                                                                         1   MEGAN K. MCHENRY, ESQ.
                                                                                                             Nevada State Bar No. 9119
                                                                                                         2   LAW OFFICE OF HAYES & WELSH
                                                                                                             199 North Arroyo Grande Blvd., Suite 200
                                                                                                         3   Henderson, Nevada 89074
                                                                                                             Phone: 702-434-3444
                                                                                                         4   Fax #: 702-434-3739
                                                                                                             E-Mail:m.mchenry@lvlaw.com; k.bratton@hayesandwelsh.onmicrosoft.com
                                                                                                         5
                                                                                                             Attorneys for Creditor, Prabhjot Sidhu DDS
                                                                                                         6

                                                                                                         7                             UNITED STATES BANKRUPTCY COURT
                                                                                                                                              DISTRICT OF NEVADA
                                                                                                         8

                                                                                                         9   In re:
                                                                                                        10                                                    Case No.: BK-S-23-15302-ABL
                                                                                                             MANDEEP SINGH and JASPREET KAUR,                 Chapter 7
                                                                                                        11
                                                                                                                                  Debtors.
                                                             199 NORTH ARROYO GRANDE BLVB., SUITE 200




                                                                                                        12
                                A PROFESSIONAL CORPORATION


                                                                   (702) 434-3444 FAX (702) 434-3739
                                                                     HENDERSON, NEVADA 89074
                HAYES & WELSH




                                                                                                        13
LAW OFFICE OF




                                                                                                        14             NOTICE OF INTENT TO SERVE SUBPOENA DUCES TECUM ON
                                                                                                                                    LENARD E. SCHWARTZER, TRUSTEE
                                                                                                        15
                                                                                                                      NOTICE IS HEREBY GIVEN pursuant to FRCP 45(a)(4), that Creditor, Prabhjot
                                                                                                        16
                                                                                                             Sidhu DDS, intends to serve a Subpoena Duces Tecum on Lenard E. Schwartzer, Trustee.
                                                                                                        17

                                                                                                        18            A copy of the Subpoena to Produce Documents, Information, or Objects or to Permit

                                                                                                        19   Inspection of Premises in a Bankruptcy Case is attached hereto as Exhibit 1.

                                                                                                        20            Dated this 26th day of March, 2024.
                                                                                                        21

                                                                                                        22
                                                                                                                                                   LAW OFFICE OF HAYES & WELSH
                                                                                                        23
                                                                                                                                                   /s/Megan K. McHenry______________
                                                                                                        24                                         MEGAN K. MCHENRY, ESQ.
                                                                                                                                                   Nevada Bar No. 9119
                                                                                                        25                                         199 N. Arroyo Grande Blvd., Ste. 200
                                                                                                                                                   Henderson, NV 89074
                                                                                                        26
                                                                                                                                                   Attorneys for Creditor
                                                                                                        27

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                                                                                                              Case 23-15302-abl               Doc 38        Entered 03/26/24 13:10:36                   Page 2 of 6



                                                                                                         1                                        CERTIFICATE OF SERVICE
                                                                                                         2
                                                                                                                    On March 26, 2024, I served the foregoing NOTICE OF INTENT TO SERVE
                                                                                                         3   SUBPOENA DUCES TECUM ON LENARD E. SCHWARTZER, TRUSTEE by the
                                                                                                             following means to the persons as listed below:
                                                                                                         4
                                                                                                             ___X___ a. ECF System: the CM/ECF system to those persons listed on the case.
                                                                                                         5

                                                                                                         6   _____ b. United States mail, postage fully prepaid:
                                                                                                         7

                                                                                                         8   _______ c. Personal Service. I personally delivered the document(s) to the persons at
                                                                                                             these addresses:
                                                                                                         9
                                                                                                             _____ For a party represented by an attorney, delivery was made by handing the document(s) to the attorney or by leaving
                                                                                                        10   the document(s) at the attorney’s office with a clerk or other person in charge, or if no one is in charge by leaving the
                                                                                                             document(s) in a conspicuous place in the office.
                                                                                                        11   _____ For a party, delivery was made by handing the document(s) to the party or by leaving the document(s) at the
                                                                                                             person’s dwelling house or usual place of abode with someone of suitable age and discretion residing there.
                                                             199 NORTH ARROYO GRANDE BLVB., SUITE 200




                                                                                                        12
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                                                                                                             ______ d. By direct email:
                                                                     HENDERSON, NEVADA 89074
                HAYES & WELSH




                                                                                                        13
LAW OFFICE OF




                                                                                                                      Based upon the written agreement of the parties to accept service by email or a court order, I caused the
                                                                                                        14
                                                                                                                      document(s) to be sent to the persons at the email addresses listed below. I did not receive, within a
                                                                                                                      reasonable time after the transmission, any electronic message or other indication that the transmission
                                                                                                        15            was unsuccessful.

                                                                                                        16   ___________ e. By fax transmission:
                                                                                                        17            Based upon the written agreement of the parties to accept service by fax transmission or a court order, I
                                                                                                                      faxed the document(s) to the persons at the fax numbers listed below. No error was reported by the fax
                                                                                                        18            machine that I used. A copy of the record of the fax transmission is attached.

                                                                                                        19   ___________ f. By messenger:
                                                                                                        20            I served the document(s) by placing them in an envelope or package addressed to the persons at the
                                                                                                                      addresses listed below and providing them to a messenger for service. A copy of the messenger’s
                                                                                                        21            declaration is attached.

                                                                                                        22          I declare under penalty of perjury that the foregoing is true and correct.

                                                                                                        23          Signed on: March 26, 2024.

                                                                                                        24                                                    /s/ Megan K. McHenry__________________________________
                                                                                                                                                                 Employee of Law Office of Hayes & Welsh
                                                                                                        25

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Case 23-15302-abl   Doc 38   Entered 03/26/24 13:10:36   Page 3 of 6




                Exhibit 1
                                                                                 Case 23-15302-abl        Doc 38       Entered 03/26/24 13:10:36     Page 4 of 6



                                                                            1   MEGAN K. MCHENRY, ESQ.
                                                                                Nevada State Bar No. 9119
                                                                            2   LAW OFFICE OF HAYES & WELSH
                                                                                199 North Arroyo Grande Blvd., Suite 200
                                                                            3   Henderson, Nevada 89074
                                                                                Phone: 702-434-3444
                                                                            4   Fax #: 702-434-3739
                                                                                E-Mail:m.mchenry@lvlaw.com; k.bratton@hayesandwelsh.onmicrosoft.com
                                                                            5
                                                                                Attorneys for Creditor, Prabhjot Sidhu DDS
                                                                            6

                                                                            7                           UNITED STATES BANKRUPTCY COURT
                                                                                                               DISTRICT OF NEVADA
                                                                            8

                                                                            9   In re:
                                                                                                                                  Case No.: BK-S-23-15302-ABL
                                                                           10
                                                                                MANDEEP SINGH and JASPREET KAUR,                  Chapter 7
                                                                           11
                                                                                                     Debtors.
                                199 NORTH ARROYO GRANDE BLVB., SUITE 200




                                                                           12
                                      (702) 434-3444 FAX (702) 434-3739
                                        HENDERSON, NEVADA 89074




                                                                           13
                HAYES & WELSH




                                                                                SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
LAW OFFICE OF




                                                                           14        PERMIT INSPECTION OF PREMISES IN A BANKRUPTCY CASE

                                                                           15   TO:
                                                                                                                   Lenard E. Schwartzer, Trustee
                                                                           16                                   6655 West Sahara Ave., Ste. B200-107
                                                                                                                       Las Vegas, NV 89146
                                                                           17
                                                                                         YOU ARE COMMANDED to produce at the time, date and place set forth below
                                                                           18
                                                                                the following documents, electronically stored information, or objects, and to permit
                                                                           19

                                                                           20   inspection, copying, testing or sampling of the material:

                                                                           21   PLACE:                                           DATE AND TIME:
                                                                           22   Law Office of Hayes & Welsh                      April 26, 2024, 2:00 p.m.
                                                                                199 N. Arroyo Grande Blvd., Ste. 200
                                                                           23   Henderson, Nevada 89074
                                                                           24                1) Copies of all documents provided to you by Debtors, their counsel, or any
                                                                                      third parties, in or related to this bankruptcy case, including but not limited to,
                                                                           25         correspondence, ledgers, spreadsheets, account statements, etc.
                                                                           26   ///
                                                                           27   ///
                                                                           28   ///
                                                                                 Case 23-15302-abl           Doc 38       Entered 03/26/24 13:10:36             Page 5 of 6



                                                                            1
                                                                                                                                        /s/ Megan K. McHenry
                                                                                DATE: March 26, 2024
                                                                            2   ATTORNEYS FOR CREDITOR:                                 LAW OFFICE OF HAYES & WELSH
                                                                            3                                                           MEGAN K. MCHENRY, ESQ.
                                                                                                                                        Nevada Bar No. 9119
                                                                            4                                                           199 N. Arroyo Grande Blvd., Ste. 200
                                                                                                                                        Henderson, NV 89074
                                                                            5                                                           m.mchenry@lvlaw.com
                                                                                                                                        (702) 832-5622
                                                                            6

                                                                            7
                                                                                The following provisions of FRCP 45, made applicable in bankruptcy cases by FRBP 9016, are attached – Rule
                                                                                45(c), relating to the place of compliance; Rule 45(d) relating to your protection as a person subject to a
                                                                            8   subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential
                                                                                consequences of not doing so.
                                                                            9
                                                                                                            Notice to the person who issues or requests this subpoena
                                                                                If this subpoena commands the production of documents, electronically stored information, or tangible things,
                                                                           10
                                                                                or the inspection of premises before trial, a notice and a copy of this subpoena must be served on each party
                                                                                before it is served on the person to whom it is directed. FRCP 45(a)(4).
                                                                           11
                                199 NORTH ARROYO GRANDE BLVB., SUITE 200




                                                                           12
                                      (702) 434-3444 FAX (702) 434-3739
                                        HENDERSON, NEVADA 89074




                                                                           13
                HAYES & WELSH
LAW OFFICE OF




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                          Case 23-15302-abl                   Doc 38             Entered 03/26/24 13:10:36               Page 6 of 6
B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                      (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,              (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                            (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                            (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                            (C) Electronically Stored Information Produced in Only One Form. The
                                                                                        person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                        information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                            (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                        responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                        order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                        made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                        26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                           (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                             (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) Information Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                        promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                        is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                        …
motion, quash or modify the subpoena if it requires:
                                                                                        (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
